        Case 3:15-cv-02159-VC Document 320 Filed 07/24/18 Page 1 of 2




 1                                  UNITED STATES DISTRICT COURT
 2                               NORTHERN DISTRICT OF CALIFORNIA
 3                                        SAN FRANCISCO DIVISION
 4
     SHAHRIAR JABBARI and KAYLEE                     Case No. 15-CV-02159 VC
 5 HEFFELFINGER, on behalf of themselves
     and all others similarly situated,
 6                                                   [PROPOSED] JUDGMENT
                    Plaintiff,
 7                                                   Judge:   Hon. Vince Chhabria
            vs.                                      Ctrm.:   4
 8
     WELLS FARGO & COMPANY and WELLS
 9 FARGO BANK, N.A.,
10                  Defendants.

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                             [PROPOSED] JUDGMENT
                                                                            CASE NO. 15-CV-02159 VC
        Case 3:15-cv-02159-VC Document 320 Filed 07/24/18 Page 2 of 2




 1          This certified class action is hereby DISMISSED with prejudice and judgment is entered in

 2 accordance with the Order Granting Final Approval of Class Action Settlement, Approving
 3 Service Awards, and Awarding Attorneys’ Fees and Expenses (dkt no. 271). Without affecting the
 4 finality of this Judgment, the Court reserves jurisdiction over the Class Representatives, the
 5 Settlement Class, and Defendants as to all matters concerning administration, consummation, and
 6 enforcement of the Settlement Agreement.
 7          IT IS SO ORDERED.

 8
 9          DATED: July _____,
                         24    2018.
                                                           Hon. Vince Chhabria
10                                                         United States District Court
                                                           Northern District California
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                     -2-
                                                                                   [PROPOSED] JUDGMENT
                                                                                  CASE NO. 15-CV-02159 VC
